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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGN
                                 SOUTHERN DIVISION

UNITED STATES OF AMERICA,

               Plaintiff,
vs                                                  Case No. 1:19-cr-117
                                                    Hon. Robert J. Jonker
LARRY CHARLES INMAN,                                Hon. Phillip J. Green

            Defendant.
___________________________________________________________/

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____________________________________________________________/

  NOTICE OF INTENT TO PRESENT EVIDENCE OF DEFENDANT’S DIMINISHED
     COGNITIVE ABILITY AS A RESULT OF THE USE OF PRESCRIPTION
                          PAIN MEDICATION

Now comes the Defendant, Larry Charles Inman, by and through his attorneys of record,

NEUMANN LAW GROUP, and, pursuant to the Court’s Standing Order Regarding Discovery

in Criminal Cases, hereby, gives notice of Defendant’s intention to present expert testimony and

related evidence of diminished cognitive ability bearing on the issue of whether or not defendant
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had the requisite mental state required for the charged offenses.




June 18, 2019


                                            Respectfully,



                                            Christopher K. Cooke (P35034)
                                            Neumann Law Group, PLLC
